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E-mail: greg.Christianson@bingham.com . fect wee
E-mail: sa.lee@bingham.com Clits BEF pe my!
Attorneys for Defendants
SHELL OIL COMPANY, TEXACO INC.,
ATLANTIC RICHFIELD COMPANY. AND
UNION OIL COMPANY OF CALIFORNIA ove ou anees MADE BY COURT
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
JNETED STATES OF AMERICA, et al., | No. CIV 91 0589 RIK
ae Plaintiffs, JOINT STIPULATION AND
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3° dps ONTINUANCE OF THE
HEARING ON THE UNITED
SHELL OIL COMPANY, et ai., STATES’ MOTION FOR
RECONSIDERATION OF THE .
Defendants. COURT’S MAY 22, 2007 ORDER
AND THE STATE OF
CALIFORNIA’S MOTION FOR
MODIFICATION OF THE
INTENDED DECISION DATE T?
PUCUST Bt, 300%, Ok (000K mH -
Date: BB- rust Sl, a0
Time: Op om
Courtroom: Sania ea.
Judge: Honorable Alicomarie H.
Stotler, Chief
Plaintiffs the United States of America and the State of California
(collectively, “Plaintiffs”) and defendants Shell Oil Company, Texaco Inc.,

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Atlantic Richfield Company and Union Oil Company of California (collectively,
“Defendants”) hereby stipulate as follows:

 

 

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JOINT STIP, & [PROPOSED] ORDER FOR A CONT, OF THE HEARING ON THE UNITED STATES’ M On ik eR pOG
COURT'S MAY 22, 2007 ORDER AND THE STATE OF CALIFORNIA'S MOTION FOR MOD. OF [HE ATE
A/720936 70.2/3004473-00003 18657

 

 

 

 
 

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WHEREAS, the hearing on Plaintiff the United States’ Motion for
Reconsideration of the Court’s May 22, 2007 Order and Plaintiff the State of
California’s Motion for Modification of the Intended Decision Date was originally
set for July 23, 2007; and

WHEREAS, on July 6, 2007, the Court on its own motion continued
the hearing to Friday, August 3, 2007; and .

WHEREAS, Defendants’ counsel is not available to attend the hearing
on August 3, 2007;

NOW THEREFORE, Plaintiffs and Defendants, by and through their
attorneys of records, hereby stipulate as follows:

1. Subject to the Court’s availability, the hearing of the United
States’ Motion for Reconsideration of the Court’s May 22, 2007 Order and
Plaintiff the State of California’s Motion for Modification of the Intended Decision
Date (collectively, “Plaintiffs’ Motions”) shall be continued to Thursday, August
30, 2007 at 10:00 a.m.;

2. If, however, the Court is not available to hear Plaintiffs’
Motions at 10:00 a.m. on August 30, 2007, the Parties stipulate that, contingent
upon the Court’s availability, the hearing on the Plaintiffs’ Motions shall be
continued to Friday, August 31, 2007, at 10:00 a.m.;

3. Ifthe Court is not available to hear Plaintiffs’ Motions on either
August 30 or 31, 2007, the Parties agree to work with the Court’s clerk to schedule
the hearing for a mutually agreeable date and time in early September, 2007 or as
soon thereafter as this matter may be heard by the Court; and

4. In the event that the hearing is continued until August 30, 2007
or later, the Parties stipulate that Defendants’ opposition or oppositions to
Plaintiffs’ Motions shall be filed with the Court and served no later than Tuesday,
August 7, 2007. |

 

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JOINT STIP & [PROPOSED] ORDER FOR A CONT. OF THE HEARING ON THE UNITED STATES’ MOTION FOR RECONS. OF THE
COURT'S MAY 22, 2007 ORDER AND THE STATE OF CALIFORNIA’S MOTION FOR MOD. OF THE [INTENDED DECISION DATE
A/72093070.2/3004473-00003 18657 :

 
 

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1 Defendants and Plaintiffs jointly submit this stipulation and
2 | respectfully request that the Court grant an order consistent with the foregoing
3 } terms.
4 | DATED: July !7, 2007 BINGHAM McCUTCHEN LLP
>
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. By: *
7 teg A. Christianso
Attorneys for Defendants
8 SHELL OIL COMPANY, TEXACO
INC., ATLANTIC RICHFIELD
9 COMPANY, AND UNION OIL
10 COMPANY OF CALIFORNIA
1k
12 | DATED: July [7 2007 UNITED STATES DEPARTMENT OF
JUSTICE
13
14
William A. Weinischke
16 Attorneys for Plaintiff United States of
America
17
18
19 | DATED: July 14 2007 EDMUND G. BROWN, JR.
Attorney General of the State of California
at TOM ENE
Chief Assistant Attorney General
41 THEODORA BERGE
Senior Assistant Attorney General
22
23 .
_ Tumothy R. Patterson
25 Supervising Deputy Attorney General
Attorneys for Plaintiff State of California
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JOINT STIP. & [PROPOSED] ORDER FOR A CONT. OF THE HEARING ON THE UNITED STATES’ MOTION FOR RECONS. OF THE
COURT'S MAY 22, 2007 ORDER AND THE STATE OF CALIFORNIA'S MOTION FOR MOD. OF THE INTENDED DECISION DATE
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CY AA BR Oo DH 2S SF Ce aaa OP eS

 

ORDER
Based on the Joint Stipulation of plaintiffs the United States of
America and the State of California (collectively, “Plaintiffs”), and defendants
Shell Oil Company, Texaco Inc., Atlantic Richfield Company and Union Oil
Company of California (collectively, ‘Defendants”), and good cause having been
shown;

IT IS HEREBY ORDERED THAT:
1. The hearing on Plaintiff the United States’ Motion for

Reconsideration of the Court’s May 22, 2007 Order and Plaintiff the State of
California’s Motion for Modification of the Intended Decision Date (collectively,
“Plaintiffs’ Motions”) shall be continued from August 3, 2007 to
PMust 2\ , 2007, at_\O' (a.m. ; and
2. Defendants’ opposition or oppositions to Plaintiffs’ Motions
shall be filed with the Court and served no later than August 7, 2007.

IT IS SO ORDERED.

  

DATED: JE 18 2007
The Honorable Alicemarie H. Stotler
Chief U.S. District Judge

 

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JOINT STIP. & (PROPOSED) ORDER FOR A CONT. OF THE HEARING ON THE UNITED STATES’ MOTION FOR RECONS. OF THE
COURT'S MAY 22, 2007 ORDER AND THE STATE OF CALIFORNIA'S MOTION FOR MOD. OF THE INTENDED DECISION DATE
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PROOF OF SERVICE
Tam over 18 years of age, not a party to this action and employed in the County
of Los Angeles, CA at 355 South Grand Avenue, Suite 4400, Los Angeles, CA 90071-3106. I
am readily familiar with the practice of this office for collection and processing of
correspondence for mailing with the United States Postal Service and correspondence is

deposited with the United States Postal Service that same day in the ordinary course of business.

On July 17, 2007, I served the foregoing documents described as:

JOINT STIPULATION AND [PROPOSED] ORDER FOR A CONTINUANCE OF THE
HEARING ON THE UNITED STATES’ MOTION FOR RECONSIDERATION OF THE
COURT’S MAY 22, 2007 ORDER AND THE STATE OF CALIFORNIA’S MOTION FOR
MODIFICATION OF THE INTENDED DECISION DATE

on the interested party or parties tn this action by placing a true copy in a sealed d envelope
addressed as follows:

 

 

William Weinischke, Esq. Timothy Patterson, Esq.

U.S. Dept. of Justice State of California Dept. of Justice
Environment and Natural Resources Div. | 110 West A Street, Suite 1100

601 D Street NW San Diego, CA 92101
Washington D.C., 20004

 

Courtesy copy to:
Hon. Robert Kelleher

U.S. District Court, Central District
255 E. Temple Street

Courtroom 1439

Los Angeles, CA 90012

 

 

 

I caused such envelope with postage thereon fully prepaid to be placed in the

United States Mail at Los Angeles, California.

I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct and that this declaration was executed on July 17, 2007.

PWM —

P.W. HOLMAN

 

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PROOF OF SERVICE
LA/40343220 1/3004473-00003 18657

 

 
